        Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 1 of 15




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION




 JEAN ALEXANDER,                                     Civil Action No.

      Plaintiff,

 v.

 UNITED PARCEL SERVICE, INC.                         JURY TRIAL DEMANDED

      Defendant.


                         COMPLAINT FOR DAMAGES

        COMES NOW, JEAN ALEXANDER (hereinafter “Plaintiff” or “Mr.

Alexander”), by and through his undersigned counsel, and files this, his Complaint

for Damages, and shows the Court as follows:

                                 INTRODUCTION

                                       1.

        Plaintiff brings this action against Defendant, for damages and all available

relief under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e and the

Americans with Disabilities Act, as amended by the Americans with Disabilities

Amendments Act of 2008 (“ADAA”), 42 U.S.C. § 12101 et seq., Defendant’s

violation of his rights under the Family and Medical Leave Act (“FMLA”), 29


                                            1
        Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 2 of 15




U.S.C. § 2601, et. seq and Retaliation under Title VII of the Civil Rights Act of

1964.


                        ADMINISTRATIVE PROCEDURES

                                         2.

        Plaintiff has fulfilled all conditions necessary to proceed with this cause of

action. Plaintiff filed his Charge of Discrimination against United Parcel Service,

Inc. on March 9, 2022. The EEOC issued its Notice of Right to Sue on April 26,

2023.

                                          3.

        Plaintiff timely files this action within ninety (90) days of receipt of the Notice

of Right to Sue from the EEOC.

                           JURISDICTION AND VENUE

                                          4.

        Plaintiff invokes the jurisdiction of this court pursuant to 42 U.S.C. § 12101

et seq., 28 U.S.C. §§ 1331 and 1343, and 42 U.S.C. § 12117.

                                          5.

        This Court is an appropriate venue for all Plaintiff’s claims under 28 U.S.C. §

1391(b), because Plaintiff resides within the Northern District of Georgia, and all or

a substantial majority of the events giving rise to Plaintiff’s claims occurred in the

judicial district.

                                               2
      Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 3 of 15




                                  PARTIES

                                      6.

      Plaintiff is a male citizen of the United States of America and a resident of the

State of Georgia and at all such times, Plaintiff was an “employee” of Defendant as

defined under the ADA at 42 U.S.C. § 12111(4).

                                      7.

      Plaintiff is an “eligible employee” within the meaning of the FMLA, 29

U.S.C. § 2601 et seq., in that he had been employed with Defendant for more than

12 months and worked more than 1250 hours in the 12 months preceding his request

for FMLA.

                                       8.

      Plaintiff, at all times revenant hereto, was an individual with a disability as

the term is defined under 42 U.S.C. § 12102(1).

                                       9.

      During all times relevant hereto, Defendant United Parcel Service, Inc., has

employed fifty or more employees, within a 75-mile radius of Plaintiff’s

employment, for the requisite requirements under FMLA.

                                      10.




                                            3
      Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 4 of 15




      Plaintiff is a person with a disability inasmuch as he has an impairment

causing substantial limitations in one or more major life activities, he has a record

of disability, and because Defendant regarded him as having an impairment.

                                       11.

      Defendant owns, controls, manages and operates a United Parcel Service

located in Atlanta, Georgia where Plaintiff was employed.

                                       12.

      Plaintiff is an “employee” as defined by Title VII of the Civil Rights Act and

the Americans with Disabilities Act.

                                       13.

      Defendant is an “employer” as defined by Title VII of the Civil Rights Act,

the Americans with Disabilities Act.

                                       14.

      Defendant is an “employer” within the meaning of the FMLA, 29 U.S.C. §

2601 et seq.

                                       15.

      At all times relevant Defendant was qualified and licensed to do business in

Georgia, and at all times material hereto has conducted business within this District.

                                       16.




                                             4
      Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 5 of 15




      Defendant United Parcel Service, Inc. is a Foreign Profit Corporation and is

registered to do business in the State of Georgia. Defendant may be served by

delivering a copy of the summons and complaint upon its Registered Agent, CSC of

Cobb County, Inc., 192 Anderson Street, SE, Suite 125, Marietta, GA 30060.

                         FACTUAL ALLEGATIONS

                                    17.

      Plaintiff was employed by Defendant from approximately April 1, 2013, until

September 30, 2021.

                                    18.

      Plaintiff held the position as a Picker at Defendant’s store located in

Louisville, KY.

                                    19.

      Plaintiff was promoted to Part time Supervisor on or about April 16, 2016,

and relocated to New York.

                                    20.

      Plaintiff relocated to Atlanta, GA and was promoted to Full Time Supervisor

on or about August 1, 2018.

                                    21.

      Plaintiff performed well while working for the Defendant.




                                          5
      Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 6 of 15




                                        22.

      On or about April of 2018 Plaintiff started experiencing severe stress and

anxiety due to the toxic/hostile work environment.

                                        23.

      Plaintiff was subjected to verbal abuse by his manager Bianca Fizer, she

referred to plaintiff as a “dumb fuck” on multiple instances.

                                        24.

      While working Plaintiff was verbally abused by his Division Manager

Terrance Thomas, Mr. Thomas told Plaintiff “No good deed goes unpunished he

wasn’t going to let him hit 10 years with the company.”

                                    25.

      On multiple occasions Terrence Thomas would tell the staff to “get our head

from our assess and get results” etc.

                                        26.

      Plaintiff filed a complaint with Human Resources through the hotline.

                                        27.

      Plaintiff filed a complaint with Human Resources regarding the toxic/hostile

work environment.

                                        28.




                                              6
      Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 7 of 15




      When Plaintiff didn’t hear anything regarding his complaint, he contacted the

corporate office hotline and complained about the toxic/hostile work environment.

                                        29.

      Due to the severe stress and anxiety, the Plaintiff began seeing a therapist.

                                        30.

      Plaintiff was diagnosed with anxiety disorder.

                                        31.

      Plaintiff filed for FMLA due to his diagnosed anxiety disorder.

                                        32.

      On or about June 30, 2021, Plaintiff met with Bianca Fizer, Derrell Ellis and

Carl Bell to advise them that he was going out on FMLA.

                                        33.

      Plaintiff advised Bianca Fizer, Derrell Ellis and Carl Bell about his disability.

                                        34.

      Derrell Ellis told the Plaintiff that “he didn’t feel comfortable with the plaintiff

working because of the state of mind he was in.”

                                        35.

      Plaintiff took FMLA Leave from July 1, 2021, to August 15, 2021.




                                              7
       Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 8 of 15




                                        36.

       While out of FMLA Plaintiff continued to seek professional help due to his

disability.

                                        37.

       While still out on FMLA, Plaintiff was contacted by Melissa from HR and

was asked to participate in an investigation.

                                        38.

       Plaintiff met with HR even though he was still out on FMLA.

                                        39.

       Plaintiff was fearful he would lose his job if he did not help participate in the

investigation.

                                        40.

       While in the meeting, Melissa questioned the Plaintiff regarding the culture at

the job as well as what was going on in Plaintiff’s department.

                                        41.

       Plaintiff told Melissa about the hostile work environment and how he was

being treated.

                                        42.




                                           8
      Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 9 of 15




      On or about August 15, 2021, Plaintiff returned to work in hopes that the

discrimination and hostile work environment that he was enduring while at work

were addressed.

                                        43.

      On or about September 1, 2021 Plaintiff’s work badge was taken and Plaintiff

was told to go home while they continued to investigate Plaintiff’s complaints.

                                        44.

      On or about September 30, 2021, Defendant terminated the Plaintiff.

                                        45.

      Although Defendant purports to provide a legitimate non-discriminatory

reason for the adverse action, this reason is a pre-text.

                                        46.

      Others outside the Plaintiff’s protected class were treated differently.



         COUNT I- TITLE VII ADA DISABILITY DISCRIMINATION


                                        47.

      Plaintiff re-alleges and incorporates herein the foregoing paragraphs 1 through

46.




                                              9
      Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 10 of 15




                                         48.

       Plaintiff had a disabling disease where he suffered from Generalized Anxiety

Disorder.

                                         49.

       Defendant was aware of Plaintiff’s disability.

                                         50.

       Defendant received notice from Plaintiff’s physician regarding his condition.

                                         51.

       Defendant terminated Plaintiff’s employment, in whole or in part, because of

his disability.

                                         52.

       Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s discrimination against Plaintiff was undertaken in bad faith.



                                         53.

       The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity and has otherwise adversely affected his status as

an employee because of his disability.




                                           10
      Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 11 of 15




                                       54.

       As a result of Defendant’s discriminatory actions against Plaintiff, she has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.

                    COUNT II- RETALIATION UNDER TITLE VII
                                ADA DISABILITY

                                       55.

       Plaintiff realleges and incorporates herein the foregoing paragraphs 1 through

54.

                                       56.

       Defendant retaliated against Plaintiff by terminating his employment on the

basis of his disability.

                                       57.

       Defendant engaged in retaliation by terminating Plaintiff for requesting

reasonable accommodation thereby engaging in protected activity and opposing

illegal activity.

                                       58.

       Defendant engaged in unlawful retaliation against Plaintiff, in violation of 42

U.S.C. § 2000e et seq., Title VII of the Civil Rights Act of 1964, as amended by the

Civil Rights Act of 1991.



                                          11
       Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 12 of 15




                                        59.

        Defendant’s retaliatory conduct, in violation of Title VII, caused Plaintiff to

suffer a loss of pay and benefits.

                COUNT III – INTERFERENCE WITH EXERCISE OF

                                      FMLA RIGHTS

                                        60.

        Plaintiff realleges and incorporates herein the foregoing paragraphs 1 through

59.

                                        61.

       Defendant is an ‘employer’ as defined by the FMLA.

                                        62.

       Plaintiff was an eligible employee under the FMLA.

                                        63.

       Plaintiff worked at least 1250 hours for Defendant within the 12 months

preceding his request for medical leave pursuant to the FMLA.

                                        64.

      Plaintiff was employed by Defendant for more than 12 months.

                                        65.

      Plaintiff was employed by Defendant at a worksite with 50 or more employees

within 75 miles of that worksite.


                                           12
      Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 13 of 15




                                        66.

      Because Plaintiff was an eligible employee, Plaintiff was entitled to medical

leave and other protections pursuant to the FMLA, 29 U.S.C. § 2601, et seq.

                                         67.

      Plaintiff had a serious medical condition as defined by the FMLA.

                                         68.

       Plaintiff was an eligible employee with a serious health condition as that term

is defined by the FMLA and the accompanying regulations, specifically 29 C.F.R.

825.113.

      COUNT IV – RETALIATION FOR EXERCISE OF FMLA RIGHTS

                                         69.

       Plaintiff realleges and incorporates herein the foregoing paragraphs 1 through

68.

                                         70.

       Defendant is an ‘employer’ as defined by the FMLA.

                                         71.

       Plaintiff was an eligible employee under the FMLA.

                                         72.

       In terminating Plaintiff’s employment, Defendant retaliated against Plaintiff

for exercising his right to take leave as provided under the FMLA.


                                          13
     Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 14 of 15




                                       73.

      The effect of Defendant’s actions has been to deprive Plaintiff of a job, as well

as income in the form of wages, health insurance, prospective retirement benefits,

social security, and other benefits due him under the FMLA.

                                       74.

      As a result, Plaintiff is entitled to both equitable and monetary relief for

Defendant’s violation of the FMLA, specifically 29 U.S.C. § 2617(a)(1)(A) and (B).

                                       75.

      Plaintiff is further entitled to liquidated damages for Defendant’s willful

violation of his rights under the FMLA, 29 U.S.C. § 2617(a)(1)(A)(iii).


      WHEREFORE, Plaintiff respectfully requests:

      a.    A declaratory judgment that Defendant has engaged in unlawful

            employment practices in violation of the ADAA;

      b.    A declaratory judgment that Defendant has engaged in unlawful

            employment practices in violation of the FMLA;

      c.    Judgment in favor of Plaintiff and against Defendant for damages

            including lost earnings, reinstatement, front pay, and/or actual

            monetary losses suffered as a result of Defendant’s conduct.

      d.    Judgment in favor of Plaintiff and against Defendant for his reasonable

            attorney’s fees and litigation expenses;

                                          14
Case 1:23-mi-99999-UNA Document 2349 Filed 07/24/23 Page 15 of 15




e.    Judgment in favor of Plaintiff and against Defendant for liquidated

      damages pursuant to 29 U.S.C. § 2617 (a)(1)(A)(iii) and,

f.    Declaratory judgment that Defendant’s practices toward Plaintiff

      violate his rights under ADA.

g.    All other relief to which he may be entitled.



Dated this 24th day of July, 2023.



                                Respectfully submitted,



                                THE LEACH FIRM, P.A.

                                 /s/Adeash Lakraj_____________
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                                     15
